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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
                                                    -X
 UNITED STATES OF AMEJUCA,

                                                            MEMORANDUM & ORDER
                                                            14-CR-296(WFK)
 EFRAIN IRIZARRY,

                              Defendant.
                                                    -X


 WILLIAM F. KUNTZ,II, United States District Judge:

 On July 30, 2015, the defendant, Efrain Irizarry, pleaded guilty to one count of Narcotics
 Distribution Conspiracy, in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B), and one
 count of Use of a Firearm, in violation of 18 U.S.C. § 924(c)(l)(A)(i). The Court now sentences
 the defendant and provides a complete statement ofreasons pursuant to 18 U.S.C. § 3553(c)(2) of
 those factors set forth by Congress and the President and contained in 18 U.S.C. § 3553(a). For
 the reasons discussed below, the defendant is hereby sentenced to 48 months of incarceration for
 the first count of the superseding indictment and 12 months of incarceration for the second count
 of the superseding indictment, for a total of 60 months of incarceration; 3 years of supervised
 release for each count, to run concurrently; and payment of a $200.00 special assessment.
                                        BACKGROUND


         On May 19,2014,the United States filed an Indictment against Efrain Irizarry
 ("Defendant") and three co-defendants, alleging a conspiracy to distribute heroin within the
 Eastern District of New York. ECFNo. 1. The United States subsequently filed a three-count

 Superseding Indictment against Defendant and four co-defendants on October 16, 2014. EOF
 No. 52. The Superseding Indictment charged Defendant with one count of Narcotics
 Distribution Conspiracy, in violation of21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B), and one
 count of Use of a Firearm, in violation of 18 U.S.C. § 924(c)(l)(A)(i). Id. at 1-2. Defendant
  pleaded guilty to both counts on July 30,2015. ECF No.95.
         The Court hereby sentences Defendant and sets forth its reasons for Defendant's sentence
  using the rubric of the 18 U.S.C. § 3553(a)factors pursuant to 18 U.S.C. § 3553(c)(2).
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                                           DISCUSSION


 I,      Legal Standard

         18 U.S.C. § 3553 outlines the procedures for imposing a sentence in a criminal case. If
 and when a district court chooses to impose a sentence outside ofthe Sentencing Guidelines

 range, the court "shall state in open court the reasons for its imposition of the particular sentence,
 and ... the specific reason for the imposition of a sentence different from that described" in the
 Guidelines. 18 U.S.C. § 3553(c)(2). The court must also "state[] with specificity" its reasons for
 so departing "in a statement ofreasons form." Id.
         "The sentencing court's written statement ofreasons shall be a simple,fact-specific
 statement explaining why the guidelines range did not account for a specific factor or factors
 under § 3553(a)." United States v. Davis,08-CR-332,2010 WL 1221709, at *1 (E.D.N.Y. Mar.
 29,2010)(Weinstein, J.). Section 3553(a) provides a set of seven factors for the court to
 consider in determining what sentence to impose on a criminal defendant. The Court addresses
 each in turn.


 II.      Analysis

       A. The Nature and Circumstances of the Offense and the History and
          Characteristics of the Defendant

          The first § 3553(a)factor requires the Court to evaluate "the nature and circumstances of
 the offense and the history and characteristics of the defendant." 18 U.S.C. § 3553(a)(1).
          Defendant was bom on March 7,1977, in Brooklyn, New York, and he is the eldest of

 four children bom to his parents. Presentence Investigation Report("PSR") 50-51, ECF No.
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 155. Defendant had a rather tumultuous childhood that was marked by poverty, criminal

 activities, and his parents' drug use. Id.        52-55. When he was young. Defendant and his
 family lived in public housing in the Williamsburg neighborhood of Brooklyn, and they relied on
 public assistance and food stamps. Id. H 52. At some point during Defendant's youth, his
 mother became addicted to heroin, using approximately up to 2 grams per day. Id. H 53. When

 Defendant was twelve years old, his youngest sister was bom addicted to heroin, which resulted
 in all four children being taken into foster care. Id. At that time. Defendant was separated from
 his three siblings: they were placed in a foster home, while Defendant was placed in group
 homes, where he experienced theft, violence, and other "predatory acts" at the hands of the other
 residents. Id. Defendant's father actively sought to regain custody ofthe children and was able
 to do so after approximately one year. Id. When Defendant returned home,he found that not
 much had changed," as the family still stmggled with poverty and his mother still used dmgs. Id.
    53-54. Defendant's mother ultimately stopped using dmgs in 2001 and has been able to stay
 clean with the assistance of a methadone maintenance program. Id.^^ 54-55.

          Defendant became involved in criminal activity at a young age. Id.                 52, 54. For

 instance, he would act as a look out when his father stripped cars, id. ^ 52, and, according to
 his mother, he began to sell dmgs after his family was reunited so he could afford the types of
 clothes and shoes he observed his classmates wearing, id. H 54. Defendant's criminal activity
  persisted into his adulthood. See id. 40-42,45,47-48. He has been convicted of operating a
  motor vehicle with a suspended license, id. ^ 40,criminal possession of a weapon,^ id. H 41, and

 'A related attempted murder charge was later reversed and dismissed by the state appellate court. W. II41; Add. to
  PSR at 1, ECF No. 165; Def.'s Sentencing Mem. at 1, ECF No. 164.
                                                              3
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 criminal possession of marijuana, id. ^ 42. Defendant has also admitted to participating in two
 robberies for which he was never arrested. Id. ^ 45.

        Defendant attended high school through the eleventh grade and later earned his GED. Id.
   68-69. He spent most of his time after leaving school "on the street" and he has had little
 formal employment. Id. UK 72-77. Defendant has four children between the ages of nine and
 twenty and he remains in regular contact with, and provides some financial support to, two of
 them. Id. fll 56-60. He is still in a relationship with the mother of his youngest daughter, and the
 couple lived together with their daughter until Defendant's arrest for the instant offense. Id. K
 59. The couple plans to live together after Defendant is released. Id. K 60.
         The instant offenses arise out of Defendant's participation in a heroin and firearms

 trafficking organization that was investigated by a task force consisting ofthe New York City
 Police Department,the Organized Crime and Drug Enforcement Strike Force, and the Federal
 Bureau ofInvestigation beginning in approximately November 2013. M K 4. Among other
 things, Defendant made multiple drug sales to cooperating witnesses, id. KK 5,7, arranged
 narcotics transactions via wiretapped phones, id. KK 6,9-15, acted as an intermediary between
 others conducting narcotics transactions, id. K 1       sold two firearms to a co-defendant, id. K
  17. Defendant was arrested on May 20, 2014, and is responsible for distributing between 400
 and 700 grams of heroin between November 1, 2013, and May 1, 2014. Id. K 19. Defendant has
  been incarcerated since the date of his arrest and has not had any disciplinary infractions while in
  custody. Id. K 62.
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    B. The Need for the Sentence Imposed

        The second § 3553(a)factor instructs the Court to consider "the need for the sentence

 imposed(A)to reflect the seriousness ofthe offense, to promote respect for the law, and to
 provide just punishment for the offense;(B)to afford adequate deterrence to criminal conduct;
(C)to protect the public from further crimes ofthe defendant; and(D)to provide the defendant
 with needed educational or vocational training, medical care, or other correctional treatment in

 the most effective manner." 18 U.S.C. § 3553(a)(2).

        The Court's sentence punishes Defendant for violating federal law and is crafted to deter
 him and others from engaging in similar criminal activity in the future. The Court takes into
 account Defendant's difficult upbringing, good behavior while in custody, and need to care for
 his young family.

     C. The Kinds of Sentences Available

        The third § 3553(a)factor requires the Court to detail "the kinds of sentences available"
 for Defendant. 18 U.S.C. § 3553(a)(3).

         Defendant pleaded guilty to one count ofNarcotics Distribution Conspiracy, in violation
 of21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B), and one count of Use of a Firearm, in violation
 of 18 U.S.C. § 924(c)(l)(A)(i). With regard to the first count. Defendant faces a maximum term
 of imprisonment offorty years. See 21 U.S.C. §§ 846 & 841(b)(1)(B). Ifa term of
 imprisonment is imposed,the Court must also impose a term of supervised release of at least
 four years.     21 U.S.C. § 841(b)(1)(B). Defendant is statutorily ineligible for probation. Id.
 Defendant also may be required to pay a maximum fine of$5,000,000.00, id., and must pay the
  mandatory special assessment of$100.00,18 U.S.C. § 3013. With regard to the second count.
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 Use of a Firearm, Defendant faces a maximum term ofimprisonment of life, see 18 U.S.C. §

 924(c)(l)(A)(i), a term of supervised release of up to five years, id § 3583(b)(1), a maximum

 fine of$250,000.00, id. § 3571(b), and the mandatory special assessment of SI00.00, id. § 3013.

 Defendant is also statutorily ineligible for probation for this count. Id. § 3561(a)(2).

    D. The Kinds of Sentence and the Sentencing Range Established For Defendant's
        Offenses


        The fourth § 3553(a)factor requires the Court to discuss "the kinds of sentence and the
 sentencing range established for... the applicable category of offense committed by the
 applicable category of defendant as set forth in the guidelines." 18 U.S.C. § 3553(a)(4)(A).
         With regard to the first count. Guidelines § 2D1.1(a)(5) applies to violations of21 U.S.C.
 § 846 and, per Guidelines § 2D1.1(c)(7), sets a base offense level of twenty-six. See United
 States Sentencing Commission, Guidelines Manual,§ 2D 1.1(a)(5),(c)(7)(Nov. 2016)( USSG
 or "Guidelines"). Defendant's acceptance of responsibility by pleading guilty and his timely
 notification of his intent to do so permits a further reduction ofthree levels. Id. § 3E1.1.
 Accordingly, Defendant's total adjusted offense level is twenty-three. Defendant has a criminal
 history score offour, which results in a criminal history category ofthree. PSR       43-44.
         Given a total offense level oftwenty-three and a criminal history category ofthree, the
 Guidelines suggest a term ofimprisonment of between fifty-seven and seventy-one months for
 the first count ofthe superseding indictment. USSG ch. 5, pt. A. The Guidelines further
 recommend a term ofsupervised release of at least four years, id. § 5D 1.2(c); a fine of between
 $6,000.00 and $5,000,000.00, id. § 5E1.2(c); and payment ofthe costs of prosecution, id. §
  5E1.5. Defendant is ineligible for probation under the Guidelines. Id. § 5B 1.1(b)(3).
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        Under the Guidelines, the first and second counts cannot be grouped, as the second count

 carries a mandatory consecutive term of imprisonment. For the second count, the suggested

 Guidelines sentence is the statutory mandatory minimum offive years(or 60 months), although

 this Court may find it does not apply in this instance. Id. § 2K2.4(b). The Guidelines further
 suggest a term ofsupervised release of between three and five years. Id. § 5D1.2(a)(1).
    E. Pertinent Policy Statement of the Sentencing Commission

        The fifth § 3553(a)factor requires the Court to evaluate "any pertinent policy statement.
 ..issued by the Sentencing Commission." 18 U.S.C. § 3553(a)(5). Defendant has admitted to
 participating in two armed robberies and additional firearms trafficking for which he was not
 charged. PSR H 99. The Court may consider this uncharged conduct as a basis for an upward
 departure per Policy Statement 5K2.21. USSG § 5K2.21.
     F. The Need to Avoid Unwarranted Sentence Disparities

         The sixth § 3553(a)factor requires the Court to consider "the need to avoid unwarranted
 sentence disparities among defendants with similar records who have been found guilty of
 similar conduct." 18 U.S.C. § 3553(a)(6). In considering the other six § 3553(a)factors, the
 Court's sentence sufficiently avoids unwarranted sentence disparities.

     G. The Need to Provide Restitution

         Finally, the seventh § 3553(a)factor, which requires the Court to touch upon "the need to
 provide restitution to any victims ofthe offense," 18 U.S.C. § 3553(a)(7), is not applicable in
 Defendant's case,see 18 U.S.C. § 3663.
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                                        CONCLUSION


        A sentence of48 months of incarceration for the first count and 12 months of

 incarceration for the second count,for a total of60 months ofincarceration; 3 years of

 supervised release for each count, to run concurrently; and payment of a $200.00 special
 assessment is appropriate and comports with the dictates of§ 3553. This sentence is consistent
 with, and is sufficient but no greater than necessary to accomplish,the purposes of§ 3553(a)(2).
        The Court expressly adopts the factual findings ofthe Presentence Investigation Report
 and the Addendum thereto and imposes the special conditions of release proposed by the
 Probation Department.

                                             SO ORDERED.




                                                 s/WFK
                                                    WILLIAM
                                              UNITED STATES


 Dated: June 27, 2017
         Brooklyn, New York
